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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                     LONDON

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )
                                               )      Criminal No. 16-21-ART-HAI-(7)
 v.                                            )
                                               )
 CATHY BURDINE JOSE,                           )
                                               )          SENTENCING ORDER

         Defendant.                            )
                                               )

                                     *** *** *** ***
       On February 15, 2017, Cathy Jose pled guilty before Magistrate Judge Hanly A.

Ingram. Pursuant to 28 U.S.C. § 636(b)(1), Judge Ingram recommends that the Court accept

Jose’s plea. See R. 170. Jose has not objected, and her time to do so has expired. Id. at 3;

see also Fed. R. Crim. P. 59(b)(2).      Accordingly, the Court ACCEPTS the plea and

ADOPTS Judge Ingram’s recommendation, R. 170, as the opinion of the Court.

       In compliance with the Sentencing Reform Act, it is hereby ORDERED as follows:

       1.     Sentencing proceedings are set in this case for the defendant, Cathy Jose, on

Wednesday, June 7, 2017, at 2:00 p.m., at the United States Courthouse in London,

Kentucky.

       2.     The defendant and defense counsel shall meet with the probation officer for an

interview promptly, and in no event later than ten (10) days from the date of this Order. It

shall be the responsibility of defense counsel to contact the Probation Office to ascertain the

time and place of the interview, unless defense counsel’s attendance is waived.
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       3.     Not less than thirty-five (35) days prior to the date of the sentencing, the

probation officer shall provide a copy of the presentence report to counsel for the parties.

Within fourteen (14) days thereafter, counsel shall submit all objections to the presentence

report by letter to the probation officer and opposing counsel.            After receiving said

objections, the probation officer shall conduct a meeting with counsel, investigate the matters

of concern and, if warranted, revise the presentence report accordingly.

       4.     Not less than ten (10) days prior to the sentencing hearing, the probation

officer shall submit the presentence report to the undersigned. The presentence report shall

be accompanied by an addendum setting forth all unresolved objections and the probation

officer’s comments in response. A copy of the revised presentence report, together with the

addendum, shall be mailed to counsel for the parties.

       5.     Not less than five (5) days prior to the sentencing hearing the parties shall file

in the record a memorandum brief in support of their respective positions on any unresolved

objections to the presentence report. Absent good cause shown, the Court will not consider

untimely filed memoranda.

       6.     With the exception of the matters set forth in the addendum, the revised

presentence report shall be accepted as accurate. The matters set forth in the addendum,

together with such objections as could not have been raised earlier, shall be resolved at the

sentencing hearing. In resolving disputed issues of fact, all reliable information shall be

considered.

       7.     The time set forth in this Order may be modified by the Court for good cause

shown, except that the thirty-five (35) day period provided for disclosure of the presentence




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report pursuant to Fed. R. Crim. P. 32(e)(2) may be diminished only with the defendant’s

consent.

       8.      Nothing in this Order requires the disclosure of any matter exempt therefrom

by virtue of Fed. R. Crim. P. 32(i)(1)(B) and (d)(3).

       9.      The presentence report will be deemed disclosed:

               (a)    When the report is physically delivered to counsel;

               (b)    One (1)      day after     the report’s availability is orally

                      communicated to counsel; or

               (c)    Three (3) days after notice of its availability is mailed to

                      counsel, or the date of availability reflected in the notice,

                      whichever is later.

       10.     The defendant’s counsel shall be responsible for disclosing the presentence

report to the defendant and making sure that the defendant understands its contents.

       11.     The    probation    officer   shall   not   disclose   the    probation      officer’s

recommendation, if any, on the sentence.

       12.     Following the sentencing hearing, the U.S. Probation Office shall retain the

presentence report in the probation office file. In the event of an appeal, the U.S. Probation

Office will file a copy of the report, under seal, for inclusion in the record on appeal.

       13.     To the extent a written plea agreement exists between the parties, the plea

agreement(s) will be maintained in the record for a period of one (1) year after all direct

appeals have been mandated and then will be returned to the United States Attorney’s Office

at London, Kentucky, unless otherwise ordered by the Court.




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       14.    To the extent that character letters are submitted on behalf of the defendant,

the Clerk of the Court is directed to place these letters in the record, unless otherwise ordered

by the Court. Character letters shall be submitted as soon as practicable but no later than five

(5) business days prior to the scheduled sentencing date.

       15.    If either party plans to call witnesses during the sentencing hearing, that party

must file a notice in the record as soon as practicable but no later than five (5) business days

prior to the scheduled sentencing date. The notice must include the names of the anticipated

witnesses and the estimated length of their testimony.

       16.     Any motions filed pursuant to U.S.S.G. § 5K1.1 and/or 18 U.S.C. § 3553(e)

shall be filed no later than five (5) business days prior to the scheduled sentencing date. The

motion shall be accompanied by a memorandum specifically articulating the basis for the

motion, including but not limited to a thorough discussion of the factors contained in the

aforementioned provisions, both of which shall be filed under seal. The failure to timely

file the motion or include the required memorandum may result in denial of the motion. In

addition to filing with the Clerk of the Court, a copy of such motion and any response shall

be transmitted electronically to the undersigned at Thapar_chambers@kyed.uscourts.gov.

       This the 21st day of February, 2017.




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